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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

In Re: FEMA TRAILER                                            MDL NO. 1873

FORMALDEHYDE PRODUCTS

LIABILITY LITIGATION                                                        5
                                                                            X
                                                               SECTION “N” (4)
THIS DOCUMENT RELATES TO:
Robert Manual Aguilera, et al. v. KZRV, LP, et al.
No. 09-3738
******************************************************************************

                                           ORDER

       Considering the foregoing motion,

       IT IS ORDERED that plaintiffs be granted leave to file the Second Supplemental and

Amended
Hello This Complaint
           is a Test for Damages.
       THIS DONE the23rd          December
                    ____ day of ______________, 2009, New Orleans, Louisiana.


                                           _________________________________________
                                                             JUDGE
